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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


GEMMA JOSEPH-LUMPKIN                               :             CASE NUMBER

VS.                                                :             3:19cv00150 (VLB)

NEW HAVEN BOARD OF EDUCATION                       :             MARCH 25, 2019


                         ANSWER TO PLAINTIFF’S COMPLAINT

       1.       To the extent that paragraph 1 of the Complaint sets forth an overview of

the nature of plaintiff’s claim, it does not require a response, however, to the extent that

said paragraph contains allegations directed against Defendant BOARD OF

EDUCATION or SUPERINTENDENT CAROL D. BIRKS, they are denied.

       2.       Paragraph 2 of the Complaint only sets forth a legal conclusion as to the

jurisdictional basis of plaintiff’s claims and does not require a response.

       3.       Paragraph 3 sets forth the provision under which the claim is being

brought and as such does not require a response.

       4.       Paragraph 4 sets forth the provision under which the claim is being

brought and as such does not require a response.

       5.       Paragraph 5 sets forth the provision under which the claim is being

brought and as such does not require a response.

       6.       Paragraph 6 sets forth the provision under which the claim is being

brought in the District of Connecticut and as such does not require a response.

       7.       Defendant does not have sufficient knowledge or information upon which

to form a belief, and therefore leaves the plaintiff to her proof.

       8.       Admitted.
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       9.       Admitted.

       10.      Admitted.

       11.      Defendant does not have sufficient knowledge or information upon which

to form a belief, and therefore leaves the plaintiff to her proof.

       12.      Admitted.

       13.      Denied.

       14.      Denied.

       15.      Admitted to the extent that the allegation states that a contract was

renewed. Denied as to basis for that extension.

       16-21. Defendant does not have sufficient knowledge or information upon which

to form a belief, and therefore leaves the plaintiff to her proof.

       22.      Denied.

       23-24. Defendant does not have sufficient knowledge or information upon which

to form a belief, and therefore leaves the plaintiff to her proof.

       25-26. Admitted. Plaintiff applied for intermittent FMLA leave for recovery of a

“serious health condition.”

       27. Denied.

       28. Denied.

       29. Denied.

       30. Defendant does not have sufficient knowledge or information upon which to

form a belief, and therefore leaves the plaintiff to her proof. Defendant has no way of

knowing why plaintiff decided to seek extended FMLA leave.




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       31. Defendant does not have sufficient knowledge or information upon which to

form a belief, and therefore leaves the plaintiff to her proof.

       32. Denied.

       33. Admitted.

       34. Admitted.

       35. Denied.

       36. Denied.

       37. Defendant does not have sufficient knowledge or information upon which to

form a belief, and therefore leaves the plaintiff to her proof.

       38. Denied.

       39. Defendant does not have sufficient knowledge or information upon which to

form a belief, and therefore leaves the plaintiff to her proof.

       40. Defendant does not have sufficient knowledge or information upon which to

form a belief, and therefore leaves the plaintiff to her proof.

       41-44. Denied.

       45. As to the characterization of the “Saturday program”, the Defendant does not

have sufficient knowledge or information upon which to form a belief, and therefore

leaves the plaintiff to her proof.

       46. Denied.

       47. Admitted.

       48-52. Denied.

       53. Denied as a mischaracterization of fact. The written memorandum attached

as Exhibit 6 was not directed to the plaintiff but to a Mr. Kermit Carolina.




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         54-106. So as to match the complaint, Paragraphs one to 53 are to be

incorporated here as paragraphs 54 to 106.

         107. Defendant does not have sufficient knowledge or information upon which to

form a belief as to why the plaintiff took actions, and therefore leaves the plaintiff to her

proof.

         108. Paragraph 108 of the Complaint only sets forth a legal conclusion as to the

legitimacy of plaintiff’s claims and does not require a response. Defendant does not

have sufficient knowledge or information upon which to form a belief, and therefore

leaves the plaintiff to her proof.

         109-112. Admitted.

         113. Defendant does not have sufficient knowledge or information upon which to

form a belief as to why the plaintiff took actions, and therefore leaves the plaintiff to her

proof.

         114-123. Denied.

         124-176. So as to match the complaint, Paragraphs one to 53 are to be

incorporated here as paragraphs 124 to 176.

         177-184. Denied.

         185-237. So as to match the complaint, Paragraphs one to 53 are to be

incorporated here as paragraphs 185 to 237.

         238. Admitted.

         239. Admitted.

         240-241. Denied.




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                                                THE DEFENDANT,
                                                NEW HAVEN BOARD OF EDUCATION

                                                ______________/s/____________
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                                                Its Attorney



                                     CERTIFICATION

         I hereby certify that on March 27, 2019, a copy of the Answer of Defendant to
Plaintiff’s Complaint was filed electronically and served by mail on anyone unable to
accept electronic filing. Notice of this filing will be sent by e-mail to all parties by
operation of the court’s electronic filing system or by mail to any one unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the court’s CM/ECF System.


                                         ______________/s/________________
                                              Kevin M. Casini




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